                            UNITED STATES DISTRICT COURT
                            NOTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 TIERRA PERKINS,                                        )
                                                        )
        Plaintiff,                                      )     Case No: 1:23-cv-02895
                                                        )
 v.                                                     )     Judge Thomas M. Durkin
                                                        )
 CARL BUDDIG & COMPANY,                                 )     Magistrate Judge Jeffery T.
                                                        )     Gilbert
        Defendant.                                      )
                                                        )     Jury Trial Demanded
                                                        )

                           PLAINTIFF’S OPPOSITION TO
                     DEFENDANT’S PARTIAL MOTION TO DISMISS


       NOW COMES Plaintiff, Tierra Perkins (“Plaintiff”), by and through the undersigned

counsel, hereby filing this opposition to Defendant Carl Buddig & Company’s Motion to Dismiss

Plaintiff’s First Amended Complaint and in support states as follows:

       In January of 2023, Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”) alleging sex-based discrimination on the basis of her

pregnancy and retaliation during her employment with Defendant. Plaintiff received a Notice of

Right to Sue from the EEOC and Plaintiff filed this current lawsuit within ninety (90) days of her

receipt of the EEOC’s Notice of Right to Sue.

         On May 9, 2023, Plaintiff filed her Complaint with this Court against Defendant [Dkt.

1]. Plaintiff’s claims arise from Plaintiff being subjected to sex-based discrimination, on the basis

of her pregnancy, and retaliation in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §2000e et seq. (“Title VII”). Id.

       Defendant filed a Motion to Dismiss Plaintiff’s Complaint [Dkt. 10] on June 14, 2023.
Plaintiff then filed a Motion for Leave to File First Amended Complaint on July 12, 2023, and the

motion was granted [Dkt. 13]. Plaintiff filed her First Amended Complaint on July 20, 2023 [Dkt.

16], and Defendant has now moved to dismiss Plaintiff’s First Amended Complaint.

       For the reasons set forth in the accompanying Memorandum of Law in Opposition to

Defendant’s Motion where is hereby incorporated as if fully set forth herein, Defendant is not

entitled to partial dismissal with prejudice of Plaintiff’s Complaint and Plaintiff requests this Court

deny Defendant’s partial motion to dismiss.

       WHEREFORE, Plaintiff, Tierra Perkins, prays that this Court denies dismissal in favor

of Plaintiff for her First Amended Complaint, and so moves this Court accordingly, and for all

other relief this Court deems just and proper.

       Dated this 31st day of August, 2023.

                                                 /s/ Alexander J. Taylor, Esq.
                                                 ALEXANDER J. TAYLOR, ESQ.
                                                 SULAIMAN LAW GROUP LTD.
                                                 2500 S. Highland Avenue, Suite 200
                                                 Lombard, Illinois 60148
                                                 Phone (331) 272-1942
                                                 Fax (630) 575 - 8188
                                                 ataylor@sulaimanlaw.com
                                                 Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of August, 2023, a true and correct copy

foregoing has been provided electronically via electronic mail and/or via U.S. mail to following:

Jason C. Kim
Alexis M. Dominguez
Kathleen Okon
Neal, Gerber & Eisenberg LLP
Two North LaSalle Street
Suite 1700
Chicago, IL 60602-3801
Phone: (312) 269-8000
jkim@nge.com
adominguez@nge.com
kokon@nge.com
Attorneys for Defendant

                                             /s/ Alexander Taylor, Esq.
                                             ALEXANDER TAYLOR, ESQ.




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